Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Don Ramon's Real Estate LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  225 11th Street
                                  San Francisco, CA 94103
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  San Francisco                                                  Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




              Case: 21-30191               Doc# 1       Filed: 03/10/21           Entered: 03/10/21 19:32:55                   Page 1 of 16
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor    Don Ramon's Real Estate LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B). See Attachment "A."
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




              Case: 21-30191                Doc# 1          Filed: 03/10/21            Entered: 03/10/21 19:32:55                       Page 2 of 16
Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
Debtor    Don Ramon's Real Estate LLC                                                                     Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    Don Ramon's Real Estate LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 10, 2021
                                                  MM / DD / YYYY


                             X   /s/ Leonila Ramirez                                                      Leonila Ramirez
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Gregory A. Rougeau                                                    Date March 10, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Gregory A. Rougeau 194437
                                 Printed name

                                 Brunetti Rougeau LLP
                                 Firm name

                                 235 Montgomery Street, Suite 410
                                 San Francisco, CA 94104
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (415) 992-8940                Email address      grougeau@brlawsf.com

                                 194437 CA
                                 Bar number and State




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Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                                 IN RE DON RAMON’S REAL ESTATE LLC

                                ATTACHMENT TO VOLUNTARY PETITION



        The Debtor is a debtor as defined in 11 U.S.C. § 1182(1), in that its aggregate noncontingent
liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses
to proceed under Subchapter V of Chapter 11.

        The Debtor is a wholly owned LLC, the Debtor is a disregarded entity for tax purposes. Its
financial statements are consolidated with a corporation, Don Ramon’s Mexican Restaurant, Inc., also
wholly owned by Leonila Ramirez.

        Attached hereto are the most current financial statements, and portions of the Ms. Ramirez’s
tax returns, that reflect the operations of the Debtor and Don Ramon’s Mexican Restaurant, Inc.




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1:38 PM                                                   DON RAMON'S
01/18/21                                                 Balance Sheet
Cash Basis                                             As of December 31, 2020

                                                                                  Dec 31, 20
                     ASSETS
                       Current Assets
                         Checking/Savings
                            Bank of America #9625                                                35,825.35
                            Cash on Hand / Paid Out                                               5,665.31
                            Wells Fargo (BOEQ) #6838                                                945.86

                          Total Checking/Savings                                                 42,436.52

                          Accounts Receivable
                            Accounts Receivable                                                     4,231.10

                          Total Accounts Receivable                                                 4,231.10

                          Other Current Assets
                            Inventory
                               Food                                                      3,086.58
                               Inventory - Other                                        10,200.00

                            Total Inventory                                                      13,286.58

                            Undeposited Funds                                                        -319.19

                          Total Other Current Assets                                             12,967.39

                       Total Current Assets                                                      59,635.01

                       Fixed Assets
                          Accum Depr - Rest. Furn/Equip                                         -711,158.40
                          Building                                                             5,292,000.00
                          Building Improvements                                                   97,834.00
                          Land                                                                    50,935.00
                          Rest.Furn/Equip Purchased 2003                                          16,464.50
                          Restaurant Furniture/Equipment                                         629,349.71

                       Total Fixed Assets                                                      5,375,424.81

                       Other Assets
                         Deposit-PG & E                                                             802.27
                         Due from Don Ramons Real Estate                                             20.00
                         Liquor License                                                          61,907.19
                         Security Deposit State Board                                             7,500.00




                                                                                                                      Page 1
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1:38 PM                                                     DON RAMON'S
01/18/21                                                  Balance Sheet
Cash Basis                                              As of December 31, 2020

                                                                                    Dec 31, 20
                          Vendor Deposits
                            Security Deposit POS System                                        1,440.00
                            Vendor Deposits - Other                                              150.00

                          Total Vendor Deposits                                                           1,590.00

                       Total Other Assets                                                             71,819.46

                     TOTAL ASSETS                                                                  5,506,879.28

                     LIABILITIES & EQUITY
                        Liabilities
                           Current Liabilities
                              Other Current Liabilities
                                  Equipment Purchase                                                  -1,951.64
                                  Gratuity Payable                                                    12,950.75
                                  Loan from SBA-PPP                                                   60,000.00
                                  Notes Payable Ricardo Valdez                                        15,000.00
                                  Payroll Tax Payable
                                    City of SF Payroll Liability                           -5,794.41
                                    Federal
                                       940                                         1,436.88

                                      941                                          -9,086.93

                                      Federal - Other                             -24,066.74

                                   Total Federal                                          -31,716.79

                                   State
                                      DE9 - ETT                                     2,993.92
                                      DE9 - SUI                                    17,833.35
                                      SDI                                          -2,788.91
                                      State Withholding                           -15,819.92

                                   Total State                                                 2,218.44

                                Total Payroll Tax Payable                                            -35,292.76

                                Personal loan from Lee Ramirez                                        83,410.00
                                Personal Loans Payable
                                  Loan - Rico Valdez                                        2,400.00
                                  Loan - Bryan H                                           10,000.00
                                  Loan - Carmella                                           9,516.86
                                  Loan - Jason                                             45,000.00
                                  Loan - V. Cantillon                                       9,990.51
                                  Loan - Ciavarelli                                        10,000.00
                                  Loan Curtis Wong                                          5,000.00
                                  Loan from Kevin                                           9,800.00
                                  Loan From Nati Ramirez                                   40,200.00
                                                                                                                            Page 2
             Case: 21-30191      Doc# 1          Filed: 03/10/21     Entered: 03/10/21 19:32:55              Page 7 of 16
1:38 PM                                                    DON RAMON'S
01/18/21                                                  Balance Sheet
Cash Basis                                              As of December 31, 2020

                                                                                   Dec 31, 20
                                   Loan Payable John Newlin                              24,330.16
                                   Temp Loan From Lucy                                    1,623.00

                                Total Personal Loans Payable                                     167,860.53

                                Property Tax Payable                                                 5,758.12
                                Sales Tax Payable                                                     -950.65
                                Sales Tax Payable A                                                  4,919.56

                             Total Other Current Liabilities                                     311,703.91

                          Total Current Liabilities                                              311,703.91

                          Long Term Liabilities
                            Loan from SBA-EIDL                                                    159,900.00
                            Notes Payable - Mortgage                                            5,250,000.00
                            Security Deposit - Tenant                                               2,500.00

                          Total Long Term Liabilities                                           5,412,400.00

                       Total Liabilities                                                        5,724,103.91

                       Equity
                         Prior Period Adjustments                                                  33,376.61
                         Retained Earnings                                                         24,169.54
                         Net Income                                                              -274,770.78

                       Total Equity                                                              -217,224.63

                     TOTAL LIABILITIES & EQUITY                                                 5,506,879.28




                                                                                                                       Page 3
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11:50 AM                                                  DON RAMON'S
01/18/21                                               Profit & Loss
Cash Basis                                    January through December 2020

                                                                              Jan - Dec 20
                       Ordinary Income/Expense
                            Income
                               Fund-Raising                                                   31,132.03
                               Rental Income (Real Estate)                                    13,800.00
                               Sales
                                  Bar- Dinner                                       12,687.50
                                  Bar- Lunch                                         2,127.90
                                  Dinner                                           378,726.07
                                  Food-Party                                        28,289.40
                                  Lunch                                             35,044.30

                               Total Sales                                                   456,875.17

                            Total Income                                                     501,807.20

                            Cost of Goods Sold
                              Cost of Goods Sold
                                 Beverage                                            1,089.61
                                 Food                                               50,882.53
                                 Food Products                                      79,122.23
                                 Liquor/Beer/Wine                                   29,778.42
                                 Meat/Poultry                                        7,312.89
                                 Produce                                            16,984.31
                                 Seafood                                             6,210.42
                                 Tortillas                                          16,450.68

                               Total Cost of Goods Sold                                      207,831.09

                            Total COGS                                                       207,831.09

                         Gross Profit                                                        293,976.11

                            Expense
                              Advertising                                                       686.73
                              Automobile Expense
                                 DMV Renewal                                           419.00
                                 Gas,/Pkg./Tolls                                     8,976.32
                                 Repairs & Maintenance                                 200.73
                                 Automobile Expense - Other                          2,198.18

                               Total Automobile Expense                                       11,794.23

                               Bank Service Charges
                                 Checks                                                461.77
                                 Merchant Card Fees                                  7,554.65
                                 Monthly Service Charges                                56.00
                                 NSF Fees                                              630.00

                               Total Bank Service Charges                                      8,702.42

                                                                                                                 Page 1
             Case: 21-30191     Doc# 1       Filed: 03/10/21    Entered: 03/10/21 19:32:55        Page 9 of 16
11:50 AM                                              DON RAMON'S
01/18/21                                              Profit & Loss
Cash Basis                                      January through December 2020

                                                                                Jan - Dec 20
                              Building Maintenance & Repairs
                                Equip Maintenance & Repairs                           10,191.59
                                Maintenance & Repairs                                 13,095.96
                                Pest Control                                             150.00

                              Total Building Maintenance & Repairs                             23,437.55

                              Depreciation Expense                                             59,998.00
                              Donations / Contributions                                         1,956.00
                              Entertaining Outside Meals                                        7,309.72
                              Equipment Rental                                                  9,129.36
                              Flowers & Decorations                                               763.62
                              Information Technology                                               86.95
                              Insurance
                                 Business                                             18,658.44
                                 Personal                                             17,542.90
                                 Work's Compensation                                   5,097.10

                              Total Insurance                                                  41,298.44

                              Interest Expense                                                 61,470.00

                              Janitorial Expenses                                               6,350.00
                              Kitchen Expenses                                                     23.17
                              Labor (Casual)                                                    4,165.26
                              Laundry & Linen                                                   3,728.39
                              Licenses and Permits
                                 Compliance-State                                        675.00
                                 Liquor License Renewal                                1,465.00

                              Total Licenses and Permits                                        2,140.00

                              Office / Admin Expenses
                                 Office Expenses                                       1,038.56
                                 Office Supplies                                       4,442.31
                                 Postage and Delivery                                    483.96
                                 Printing and Reproduction                             1,692.61

                              Total Office / Admin Expenses                                     7,657.44

                              Operating Expenses
                                Fixed Operating Expenses
                                   Security/Alarm Service                        726.00

                                Total Fixed Operating Expenses                            726.00

                              Total Operating Expenses                                             726.00




                                                                                                                    Page 2
             Case: 21-30191   Doc# 1       Filed: 03/10/21       Entered: 03/10/21 19:32:55         Page 10 of 16
11:50 AM                                                DON RAMON'S
01/18/21                                                Profit & Loss
Cash Basis                                    January through December 2020

                                                                              Jan - Dec 20
                              Professional Fees
                                Accounting / Bookkeeping                              3,525.00
                                Appraisal                                            10,000.00
                                Business Consultant                                   5,730.50
                                Legal Fees                                            3,300.00

                              Total Professional Fees                                         22,555.50

                              Restaurant Supplies
                                Supplies
                                   Bar Supplies                                  269.01
                                   Kitchen Supplies                            3,439.05
                                   Restaurant Supplies                        19,428.38

                                Total Supplies                                       23,136.44

                                TBD                                                   1,700.00

                                Restaurant Supplies - Other                                67.45

                              Total Restaurant Supplies                                       24,903.89

                              Salaries and Wages
                                Medical/Dental Expenses                               1,191.00
                                Net Pay                                             197,015.31

                                Payroll Fees                                          6,667.72
                                Payroll Taxes
                                  Federal Payroll Tax                          3,324.14
                                  State Payroll Tax                              712.37

                                Total Payroll Taxes                                   4,036.51

                              Total Salaries and Wages                                       208,910.54

                              Selling Expenses
                                Promotions                                                495.00

                              Total Selling Expenses                                               495.00

                              Taxes
                                Sales Tax                                            15,000.00

                              Total Taxes                                                     15,000.00

                              Telephone                                                        2,370.85
                              Tips                                                             4,004.78




                                                                                                                    Page 3
             Case: 21-30191   Doc# 1        Filed: 03/10/21    Entered: 03/10/21 19:32:55           Page 11 of 16
11:50 AM                                                  DON RAMON'S
01/18/21                                                  Profit & Loss
Cash Basis                                          January through December 2020

                                                                                    Jan - Dec 20
                                Utilities
                                   Cable Expenses                                          6,897.98
                                   Garbage                                                 7,955.47
                                   Gas & Electric                                         19,564.25
                                   Water                                                   4,665.35

                                Total Utilities                                                     39,083.05

                              Total Expense                                                        568,746.89

                        Net Ordinary Income                                                        -274,770.78

                      Net Income                                                                   -274,770.78




                                                                                                                        Page 4
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                                         Two-Year Comparison                                2019

Name(s) Shown on Return                                                       Social Security Number
LEONILA RAMIREZ

Income                                           2018             2019         Difference              %

  Wages, salaries, tips, etc
  Interest and dividend income
  State tax refund
  Business income (loss)                                         -168,294.      -168,294.
  Capital and other gains (losses)
  IRA distributions
  Pensions and annuities                                                0.              0.
  Rents and royalties                                              26,131.         26,131.
  Partnerships, S Corps, etc
  Farm income (loss)
  Social security benefits                                              0.             0.
  Income other than the above                                    -460,096.      -460,096.
  Total Income                                                   -602,259.      -602,259.
Adjustments to Income
Adjusted Gross Income                                            -602,259.      -602,259.

Itemized Deductions
  Medical and dental                                                1,626.           1,626.
  Income or sales tax
  Real estate taxes
  Personal property and other taxes
  Interest paid
  Gifts to charity
  Casualty and theft losses
  Miscellaneous
  Total Itemized Deductions                             0.          1,626.          1,626.
  Standard or Itemized Deduction                                   13,500.         13,500.
Qualified Business Income Deduction                                     0.              0.
Taxable Income                                                          0.              0.

  Income tax                                                             0.                 0.
  Additional income taxes
  Alternative minimum tax
  Total Income Taxes                                                     0.                 0.
  Nonbusiness credits
  Business credits
  Total Credits
  Self-employment tax
  Other taxes
Total Tax After Credits                                                  0.                 0.
  Withholding
  Estimated and extension payments
  Earned income credit
  Additional child tax credit
  Other payments
  Total Payments
  Form 2210 penalty
  Applied to next year’s estimated tax
Refund
Balance Due                                                              0.                 0.

  Current year effective tax rate                                                                 0.00 %

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                                      LLC RESOLUTION

       A meeting of the Members of DON RAMON’S REAL ESTATE LLC (the “LLC”) was

held on March 10, 2021. After a discussion, upon motion duly made carried, the following

resolutions were adopted:

       WHEREAS, the LLC is in serious financial condition and is unable to continue without

debt relief; and

       WHEREAS, it appears to the LLC’s Members that it is in the best interests of the LLC,

its Members, and creditors, to commence a case under Chapter 11 of Title 11, United States

Bankruptcy Code (the “Bankruptcy Code”);

       NOW, THEREFORE, be it hereby resolved, that the Members find and determine that it

is in the best interest of the LLC, its Members, and creditors, for it to commence a case under

Chapter 11 of the Bankruptcy Code;

       BE IT FURTHER RESOLVED that the Members and agents of the LLC be, and each of

them hereby is, empowered and directed without further action to prepare, sign and file, or cause

to be prepared, signed and filed, a petition for the commencement of a case under Chapter 11 of

the Bankruptcy Code, in the United States Bankruptcy Court for the Northern District of

California;

       BE IT FURTHER RESOLVED that Leonila Ramirez, Managing Member of the LLC, is

designated and authorized to act as the “Authorized Individual” for the signing of the Chapter 11

Voluntary Petition and as the LLC's “Responsible Individual” as may be required by the Local

Bankruptcy Rules for the Northern District of California, and

       BE IT FURTHER RESOLVED that the Members and agents of the LLC are authorized,

empowered and directed to retain the Law Firm of Brunetti Rougeau LLP, to commence the

                                                1


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aforementioned Chapter 11 case, and to o all things, and to pr . pare, sig 'and file all apers or
                                                                               I




documents necessary or proper to the co mencement of said C apter 11 �ase; Brunetti Rougeau
                                                                                        I
                                                                '              I




                                                           ;f
is authorized to take such actions in the ankruptcy case whlch: fnmetti 6ugeau, i11 it
                                                               ,
discretion, concludes are necessary to B netti �ougeau's and/!r         f
                                                              . the LL s fulfillmJt of its
fiduciary obligations in the bankruptcy ase.



remain in effect unless otherwise agree upon or amended by the Memb i:s.
                                                                        :

                                                                        , er shall
       BE IT FURTHER RESOLVED hat this LLC Resoluti 'n and its erms hereun
                                                                           !
                                                                                       l




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                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      Don Ramon's Real Estate LLC                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Leonila Ramirez                                                     100% Equity
 826 Paloma Avenue                                                   (Sole
 Oakland, CA 94610                                                   Member/Mgr.)


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 10, 2021                                                          Signature /s/ Leonila Ramirez
                                                                                            Leonila Ramirez

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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